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                                                          IED




                                                    IED
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                                                       RPG
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                                                    m pDnf ramrod
Attacks carried out by IRGC-QF commanded militias or Sunni groups supported with IRGC-QF and      1. 24 June 2004 Daniel Desens killed in attack, James Cherry, Roy
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Lebanese Hezbollah Lethal Aid (Training, Equipment, Arms, and Financing)                             Farve, Antonio Fraser, Ralph Isabella, Aaron Johnson, Jerry
                                                                                                           Moorhouse, Alan Payne, Thomas Rivera, Lynn Sorenson, Chad
                                                                                                           Stephens, Jeffery Walton, and Ron Watkins injured in an attack by
                                                                                                           EPF, machine gun rounds, RPGs, mortars, and a daisy chain of IEDs
                                               66
                                                                                                           that killed Desens in Baqubah, Iraq. I attribute this attack to Shia
                                                                                                           Special Groups created, trained and directed by the IRGC-QF.
                                                                                                        2. April 2004 – James Cherry suffers PTSD from an IED attack in
                                                                                                           Baqubah, Iraq. I attribute this attack to the IRGC-QF thru lethal aid
                                                                                                           to both Sunni and Shia insurgent groups.
                                                                                                        3. October 2006 – Bob Clements was injured in an EFP attack in
                                                                                                           Baghdad, Iraq. On 16 November 2006 - Clements injured in a Sniper
                                                                                                           attack in Baghdad, Iraq. I attribute the EFP attack to AAH.
                                                                                                        4. 12 October 2008 - Jason Daniels suffers from PTSD from a complex
                                                           9
                                                                                                           attack (small arms, RPG) in Rustamayah, Iraq. I attribute this attack
                                                                                                           to IRGC-QF proxy AAH.
                                                           1
                                                                   1 8                                  5. 14 November 2006 - Justin Garcia killed in an EFP attack in Baghdad
                                                                   02                                      Iraq. I attribute this to IRGC-QF Proxy AAH.
                                                               7
                                                                   4                                    6. March 2003 – Travis Haley, injured in a complex attack (RPG, IED,
                                                       5
                                                               3                                           mortars) in Mosul, Iraq. I attribute this attack to IRGC-QF release
                                                                                                           of Iraqi Sunni terrorists from Iranian prisons in early 2003
                                                                                                           specifically for the purpose of attacking U.S. personnel.
                                                                                                        7. May 2009 - Jeris T. Holt was injured in an IED attack in Sadr City.
                                                                                                           March 2011 - Holt was injured in an IED attack in Baghdad. I
                                                                                                           attribute both attacks to AAH.
                                                                                                        8. December 2004 - Aaron Johnson was injured in an IED attack in
                                                                                                           Diyala Province. I attribute this attack to the IRGC-QF thru lethal aid
                                                                                                           to both Sunni and Shia insurgent groups.
                                                                                                        9. 18 June 2004 – Brent Jurgersen was injured in a small arms ambush
                                                                                                            in Samara, Iraq. On 26 January 2005 – Jurgersen was injured in an
                                                                                                            RPG attack in Ad Duluiyah, Iraq. I attribute both attacks to the IRGC-
                                                                                                            QF thru lethal aid to both Sunni and Shia insurgent groups.
                                                                                                        10. 01 July 2004 – Jeffrey Leake was injured in an EFP attack in
                                                                                                            Baqubah, Diyala Province, Iraq. I attribute this attack based on
 Attachment A
                                                                                                            tactic and location of attack to IRGC-QF Proxy AAH.
Attacks carried out by IRGC-QF commanded militias or Sunni groups supported with IRGC-QF and
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                                                                                                      07 February
                                                                                                           26 of 302007 - Kyle Lewis, Joe Markell, Bradley Spry, and
Lebanese Hezbollah Lethal Aid (Training, Equipment, Arms, and Financing)                              Jarrett Taylor, were injured in an EFP attack in Northern Iraq.
                                                                                                              May 2007 – Lewis, Markell, Spry, and Taylor were injured in an
                                                   5
                                                   15                                                         EFP attack in Tal Afar, Iraq. I attribute both EFP attacks to AAH.
                                            1
                                            11        6
                                                  4 16
                                                  14                                                      12. November 2006 – Daniel Mayer was injured in an RPG attack in
                                                                                                              Baqubah, Iraq. 14 November 2006 – Mayer was injured in an IED
                                                                                                              attack in Baqubah, Iraq. February 2007 – Mayer was in an IED
                                                                                                              with vaporized chlorine attack (PTSD, TBI). I attribute these
                                                                                                              attacks to the IRGC-QF thru lethal aid to both Sunni and Shia
                                                                                                              insurgent groups.
                                                                                                          13. 10 September 2004 – Donald McCallum suffers PTSD from an EFP
                                                                                                              attack in Diyala Province, Iraq. I attribute this attack to IRGC-QF
                                                                                                              trained and equipped Shia Special Groups. The groups that would
                                                                                                              become Kataib Hezbollah and Asaib Ahl al-Haqq (AAH).
                                                               3
                                                               13                                         14. 30 November 2006 – Dillion McNeeley suffers PTSD from a
                                                                                                              complex attack (IED and small caliber arms fire) in Mosul, Iraq.
                                                                    2
                                                                    12
                                                                                                              July 2007 – McNeeley is involved in another complex attack (IED,
                                                                                                              RPG, small caliber arms fire) in Mosul Iraq. I attribute these
                                                                     7
                                                                    17                                        attacks to IRGC-QF lethal aid to the Sunni Insurgency.
                                                                                                          15. November 2006 – January 2007 – Miguel Francisco suffers PTSD
                                                                                                              from multiple EOD detonations of EFPs and IEDs in Mosul, Iraq.
                                                                                                              The EFP is the signature weapon of IRGC-QF militia AAH. I
                                                                                                              attribute these attacks to AAH.
                                                                                                          16. July 2007 – Ryan Norris suffered PTSD from a complex attack (IED
                                                                                                              and small caliber arms fire) in Mosul, Iraq. Norris was operating
                                                                                                              at bases along the Iraq-Iran border from 2009-2011that were
                                                                                                              continuously under rocket and mortar fire from IRGC-QF backed
                                                                                                              militia AAH. I attribute this attack to AAH.

                                                                                                          17. 15 February 2011 - Zach Roth was injured in an EFP in Kalsu, Iraq.
                                                                                                              I attribute this attack to AAH based on tactic and location.




 Attachment A
Attacks carried out by IRGC-QF commanded militias or Sunni groups supported with IRGC-QF and
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Lebanese Hezbollah Lethal Aid (Training, Equipment, Arms, and Financing)                          18. December 2006 – Lynn Sorensen was in an IED attack in Diyala
                                                                                                          Province that resulted in a TBI and PTSD. I attribute this attack to
                                                                                                          AAH based on attack method. March 2007 - Sorenson was injured
                                                                                                          in an IED attack in Diyala Province. I attribute this attack to AAH.

                                                                                                       19. June 2003 – Jonas Ware was in an IED attack in Hawija, Iraq. August
                                                                                                           2003 - Ware was in an IED attack in Hawija. I attribute this attack to
                                                                                                           IRGC-QF lethal aid and facilitation of weapons and fighters to Abu
                                                                                                           Musab al-Zarqawi Sunni Jihadist group. Citing the relationship
                                                     2
                                                     19                                                    between al-Qaeda and the IRGC-QF and Lebanese Hezbollah.

                                                                                                       20. 10 September 2004 – Ron Watkins was injured in an IED attack in
                                   5
                                   22                                                                      Diyala Province. I attribute this attack to IRGC-QF trained and
                                                                                                           equipped Shia Special Groups. The groups that would become
                                                              1
                                                              18
                                                                                                           Kataib Hezbollah and Asaib Ahl al-Haqq (AAH).
                                                                   3
                                                                   20
                                                                                                       21. 06 June 2004 – Lloyd Williams was injured in an EFP attack in the
                                                                                                           Abu Ghraib District of Baghdad, Iraq. I attribute this attack to IRGC-
                                                                                                           QF trained and equipped Shia Special Groups. The groups that
                                                             21                                            would become Kataib Hezbollah and Asaib Ahl al-Haqq (AAH).

                                                                                                       22. 08 February 2007 – James Williamson was injured in an RPG attack
                                                                                                           in Hassa, Iraq. I attribute this attack to AAH based on attack
                                                                                                           method.




 Attachment A
The IRGC-QF and the MOIS financed, trained, equipped, and facilitated Taliban attacks against U.S.         23. 09 March 2011 – Robert Bruce was severely injured in an IED
                                                 Case 1:19-cv-02179-TNM Document 43-1 Filed 04/12/21 Page 28 of 30
personnel in Afghanistan. The IRGC established, organized, and funded advanced training in Iran for           attack in Kajaki District, Afghanistan. The IRGC-QF and MOIS
Taliban operatives to learn how to employ explosives (IEDs and EFPS), complex ambushes, sniper                were designated in 2007 by U.S Treasury for providing lethal aid
operations, and indirect fire (mortars and rockets) and direct attacks against U.S. Forces in Afghanistan.    to the Taliban. I attribute this attack to IRGC-QF and MOIS Lethal
                                                                                                              Aid to the Taliban.
U.S. Treasury Designation.
                                                                                                                 24. July 2013 – Jeris Holt was injured in a rocket attack in Puli Alam,
                                                                                                                     Afghanistan. The IRGC-QF and the MOIS were designated for
                                                                                                                     providing lethal aid to the Taliban. The IRGC-QF supplied and
                                                                                                                     trained Taliban fighters on the use of rockets to attack American
                                                                                                                     forces. I attribute this attack to IRGC-QF and MOIS Lethal Aid to
                                                                            3
                                                                           25                                        the Taliban.

                                                                                 3
                                                                                25                               25. During a year long deployment from August 2007 to 2008,
                                                                                                                     Chase Jurgenson suffered PTSD from two separate rocket
                                                                     2
                                                                     24                                              attacks during his deployment to Kunar and Nuristan Provinces
                                                                                                                     in Afghanistan. The IRGC-QF and the MOIS were designated for
                                                                                                                     providing lethal aid to the Taliban. The IRGC-QF supplied and
                                                                                                                     trained Taliban fighters on the use of rockets to attack American
                                                                                                                     forces. I attribute these attacks to IRGC-QF and MOIS Lethal Aid
                                                                                                                     to the Taliban.

                                                                                                                 26. November 2012 – Chase Jurgensen was injured in an IED attack
                                 1
                                 23                                                                                  in Kandahar, Afghanistan. The IRGC-QF and MOIS were
                                                                                                                     designated in 2007 by U.S Treasury for providing lethal aid to
                                                                                                                     the Taliban specifically for the purpose of attacking Americans. I
                                                                                                                     attribute this attack to IRGC-QF and MOIS Lethal Aid to the
                                      26                                                                             Taliban.




 Attachment A
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MICHAEL P. PREGENT                                                            pregentm@gmail.com (202) 617-1938
•   Expert and trusted advisor on U.S. Foreign Policy in the Middle East, North Africa, and Southwest Asia
•   Senior fellow and former intelligence officer with more than 30 years’ experience in counterinsurgency,
    counterterrorism, stakeholder communications, and strategic planning
• Consultant for private and public sectors in areas of Intelligence, Terrorism, Radical Ideologies, Middle East, and
    Defense strategy in relation to U.S. Security and Politics (engagement strategies, gap analysis, Red Team analysis,
    atmospheric reporting, qualitative alternative analysis)
• Highly effective, polished, and strategic communicator with ability to convey complex Foreign Policy and National
    Security issues through competitive analysis, presentations, writings, and media campaigns
PROFESSIONAL EXPERIENCE
Senior Fellow- Iran, Iraq, & U.S. Middle East Policy Expert, Hudson Institute, Washington, DC. 2015- Present
    • Provide expert testimony in U.S. District Court & Congress on Terrorism and State Sponsors of Terror.
    • Expert analyst on Shia militias, Iran, Iraq, and ISIS with appearances on BBC World News, Al-Jazeera
         International, CNN, CNN International, and Fox News
    • Published Foreign Policy and U.S National Security expert on ISIS, Iran’s Qods Force, Syria, and Iraq for the The
         Wall Street Journal, Washington Post, Foreign Affairs, Foreign Policy Magazine, et al.
Middle East Adjunct Lecturer/Expert, National Defense University, Washington, DC, 2015-Present
    • Distinguished contributor to the Department of the Army’s History of the Iraq War.
    • Middle East Expert on ISIS and U.S. policy in Iraq for the College of International Security Affairs (CISA) and
         visiting Fellow for Institute for National Securities Studies (INSS)
Executive Director, Veterans Against the Iran Deal, Washington, DC, 2015-2017
    • Devised and implemented a multi-media campaign to educate Americans on the Iran Deal (JCPOA)
    • Increased U.S. public opposition to the Iran Deal from 33% to 66% as a result of campaign
Senior Director Middle East Strategies, Liaison Solutions International, Orlando, FL 2013- 2015
    • Developed communications strategies for target demographics in the Middle East and North Africa
    • Established international network to connect concepts and services with key decision makers
Subject Matter Expert-Defense Intelligence Agency (DIA) & U.S. Central Command (CENTCOM) 2006-2013
    • Expert on Islamic Terrorist groups as well as political and cultural analysis for the Middle East, North Africa, and
         South West Asia; assessed intelligence value of captured Osama Bin Laden documents
    • Provided intelligence assessments to the National Intelligence Community, Multi-National Force-Iraq intelligence
         staff, the US Embassy Team, the Iraqi Government, and military officials
    • Engaged with host-nation decision-makers, counter-insurgency officials, insurgent leaders, and tribal leaders in
         counterinsurgency and counter-terrorism operations
Intelligence Officer, U.S. Army, Middle East and U.S. Based 1986-2006
    • Executive Officer, Operations Officer, Company Commander, Intelligence Officer, Liaison Officer, & Embedded
         Advisor
    • Veteran of Desert Storm/Shield, Operation Enduring Freedom, and Operation Iraqi Freedom
    • Advised and liaised with host-nation military, counter- insurgency forces, and counter-terrorism government officials
         in Egypt, Iraq, Saudi Arabia, Kuwait, and Afghanistan.
EDUCATION
Master’s of Science, Strategic Public Relations George Washington University, Strategic Public Relations
Modern Standard Arabic and Egyptian Dialect Graduate, U.S. Army’s Defense Language Institute
Bachelor of Art, Political Science and Government, Indiana University-Perdue University Indianapolis




                                                     Attachment B
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Michael Pregent Bio mpregent@hudson.org | 202-617-1938

Mike Pregent is a senior fellow at Hudson Institute. He is a senior Middle East analyst, a
former adjunct lecturer for the College of International Security Affairs, and a visiting
fellow at the Institute for National Strategic Studies at the National
Defense University. He has testified several times in front of Congress on Iran’s support
for Terror in Iraq and the broader Middle East. He has testified in U.S. District court on
Iran’s support to terror groups that have injured and killed Americans.

Pregent is a former intelligence officer with over 28 years-experience working security,
terrorism, counter-insurgency, and policy issues in the Middle East, North Africa, and
Southwest Asia. He is an expert in Middle East and North Africa political and security
issues, counter-terrorism analysis, and strategic planning.


He spent considerable time working malign Iranian influence in Iraq as an advisor to
Iraq’s Security and Intelligence apparatus, including an embedded advisory role with
Prime Minister Nouri al-Maliki’s extra-constitutional Office of the Commander-in-Chief
– a role to discover PM-directed sectarian activity. The office was set up to ensure
Iranian-backed Shia militia party control of Iraq’s security and political sectors.

Based on his Iraq experience on the IRGC-QF operations against the U.S. led Coalition, Mike
was asked to contribute to the U.S. Army’s History of the Iraq War. He provided inputs on
Malign Iranian influence in Iraq to include IRGC-QF training, arming, funding and
directing both Sunni groups and Iraqi Shia Militias to target Americans.

Pregent served in Desert Shield and Desert Storm, served as a liaison officer in Egypt
during the 2000 Intifada, as a counter-insurgency intelligence officer at CENTCOM in
2001, and as a company commander in Afghanistan in 2002 - at the height of the U.S.
focus on al-Qaeda, the Taliban, and the Haqqani group.

Pregent served as an embedded advisor with the Peshmerga in Mosul 2005-06. Also, as
a civilian SME working for DIA, he served as a political and military advisor to USF-I
focusing on the insurgency and Iranian influence in Iraq from 2007-2011. He was a
violent extremism and foreign fighter analyst at CENTCOM from 2011-2013.

He holds a Masters in Strategic Public Relations from The George Washington
University and is a graduate of the U.S. Army’s Defense Language Institute in Modern
Standard Arabic and Egyptian Dialect.

Mike Pregent has numerous publications on ISIS, Iran’s Qods Force, and on Syria and
Iraq. His writings have been published in Foreign Affairs, The Wall Street Journal,
Foreign Policy Magazine, The Tower Magazine, Long War Journal, New America
Foundation, CNN, Al-Jazeera, Business Insider, and the Daily Beast

He frequently appears as an expert analyst on Shia militias, Iran, Iraq, and ISIS with
appearances on BBC World News, Al-Jazeera International, CNN, CNN International,
and Fox News.




                                       Attachment B
